
PER CURIAM.
Appellant correctly argues that the trial court committed fundamental error in failing properly to advise appellant of his right to assistance of counsel at the plea and disposition hearings. Florida courts have held repeatedly that fundamental error occurs if a juvenile enters an uncounseled plea in a delinquency proceeding and the trial court fails to conduct a thorough inquiry into the juvenile’s comprehension of the right to counsel pursuant to Florida Rule of Juvenile Procedure 8.165. State v. B.P., 810 So.2d 918 (Fla.2002); State v. T.G., 800 So.2d 204, 213 (Fla.2001); C.K. v. State, 909 So.2d 602, 604 (Fla. 2d DCA 2005); M.Q. v. State, 818 So.2d 615, 617-18 (Fla. 5th DCA 2002); P.L.S. v. State, 745 So.2d 555, 557 (Fla. 4th DCA 1999). Accordingly, we reverse and remand with directions that the trial court hold a new plea hearing after either appointing counsel for appellant or obtaining a waiver of counsel following a thorough inquiry in accordance with rule 8.165.
REVERSED and REMANDED with directions.
WEBSTER, PADOVANO, and POLSTON, JJ., concur.
